







NUMBER 13-00-424-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI


__________________________________________________________________


JOE A. SCOTT,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

__________________________________________________________________


On appeal from the 117th District Court 


of Nueces County, Texas.


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O P I N I O N



Before Justices Hinojosa, Yañez, and Chavez


Opinion Per Curiam



	Appellant, JOE A. SCOTT, perfected an appeal from a judgment
entered by the  117th District Court of Nueces County, Texas,  in cause
number 99-CR-3972-B.  Appellant has filed a motion to dismiss the
appeal.  The motion complies with Tex. R. App. P. 42.2(a).

	The Court, having considered the documents on file and
appellant's motion to dismiss the appeal, is of the opinion that
appellant's motion to dismiss the appeal should be granted.  Appellant's
motion to dismiss the appeal is granted, and the appeal is hereby
DISMISSED.

							PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 9th day of November, 2000.


